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 6                         UNITED STATES DISTRICT COURT
 7                       EASTERN DISTRICT OF WASHINGTON
 8
 9   UNITED STATES OF AMERICA,                        No. 2:17-CR-00101-WFN-15

10                       Plaintiff,                   ORDER GRANTING
11                                                    MODIFICATION OF RELEASE
                          v.                          CONDITIONS AND EXPEDITED
12                                                    HEARING
13   VICTOR RANGEL,
                                                                MOTION GRANTED
14
                         Defendant.                               (ECF No. 547)
15
16         Before the Court is Defendant’s Motion to Modify Conditions of Release
17   and Expedited Hearing. ECF No. 547. Defendant recites in his motion that he
18   wishes to travel to Post Falls, Idaho between September 21, 2017 and September
19   28, 2017 to work on a drywall job at 2315 E. Knapp Drive. Defendant, through the
20   declaration of counsel, also recites that the United States’ deferred to the
21   recommendation of U.S. Probation and that U.S. Probation Officer Erik Carlson
22   offered no objection to the proposed modification.
23         Therefore, IT IS ORDERED, that Defendant’s Motion, ECF No. 547, is
24   GRANTED. Defendant is permitted to travel to Post Falls, Idaho for work at the
25   address specified above, on September 21 to 28, 2017, inclusive, on the express
26   condition that prior to departing this District, Defendant provides Pretrial Services
27   the address and landlord where he will reside, and a telephone number where he
28   may be contacted at any time he is out of this District.



     ORDER - 1
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 1         All other terms and conditions of pretrial release not inconsistent herewith
 2   shall remain in full force and effect.
 3         IT IS SO ORDERED.
 4         DATED September 22, 2017.
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 6                                _____________________________________
                                            JOHN T. RODGERS
 7                                 UNITED STATES MAGISTRATE JUDGE
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     ORDER - 2
